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                     IN THE UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT



                                           No. 22-10994
                  CLERK         vS'

               MAY 2 7 2022
                                UNITED STATES OF AMERICA,

              •dllANTA, QA
                                         Plaintiff-Appellee,

                                                 vs.



                                      ALEJANDRINO POPOCA,

                                        Defendant-Appellant.




                               OPENING BRIEF OF APPELLANT
                                      ALEJANDRINO POPOCA
'S'




                          Appeal from the United States District Court
                  For the Northern District of Florida, Pensacola Division
                              Criminal No.3:10-cr-00067-RV-EMT-l
               Honorable C.Roger Vinson,Senior U.S. District Court Judge




                                                       ALEJANDRINO POPOCA
                                                       REG. NO. 07408-017
                                                       FCI BASTROP
                                                       FEDERAL CORR.INSTITUTION
                                                       P.O. BOX 1010
                                                       BASTROP,TX 78602
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                  IN THE UNITED STATES COURT OF APPEALS
                          FOR THE ELEVENTH CIRCUIT



                                     No. 22-10994



                          UNITED STATES OF AMERICA,

                                   Plaintiff-Appellee,

                                           vs.



                                ALEJANDRINO POPOCA,

                                  Defendant-Appellant.




                         OPENING BRIEF OF APPELLANT
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                        Criminal No.3:10-cr-00067-RV-EMT-l
             Honorable C.Roger Vinson, Senior U.S. District Court Judge




                                                 ALEJANDRINO POPOCA
                                                 REG. NO.07408-017
                                                 FCI BASTROP
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                                                 BASTROP,TX 78602
                                                 Appearing Pro Se

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                 CERTIFICATE OF INTERESTED PERSONS


      Defendant-Appellant, appearing pro se, and in compliance with Fed. R. App.

P. 26.1 and 11*^ Cir. R. 26.1-1, certifies that the following listed persons and parties

have an interest in the outcome of this case:


      1)     ALEJANDRINO POPOCA,Defendant-Appellant

      2)     UNITED STATES OF AMERICA,Plaintiff-Appellee

             Robert Gardner Davies, U.S. Attorney’s Office
             Steven Butler, U.S. Attorney’s Office
             Leonard B. Register, III, U.S. Attorney’s Office

      3)     UNITED STATES DISTRICT COURT


             Honorable C. Roger Vinson, Senior U.S. District Court Judge
             Honorable Elizabeth M. Timothy, U.S. Magistrate Judge




                                                 ALEJANDRINO POPOCA




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APPENDIX


District Court’s Order Denying Popoca’s Motion for Compassionate Release . 1A

Notice of Appeal ofthe Denial of Motion for Compassionate Release                   2A


District Court’s Order Denying Popoca’s IFP Motion                                  3A




                                         Vlll
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                       STATEMENT OF JURISDICTION


      This is an appeal from the denial of Motion for Compassionate

Release/Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(“Motion for

Compassionate Release”),on February 1,2022.See Appendix lA;Doc.494.^ Popoca

filed a Notice ofAppeal on March 25,2022.See Appendix 2A;Doc.495.The district

court had jurisdiction under 18 U.S.C. § 3231. This Court has jurisdiction pursuant

to 18 U.S.C. § 3742(a) and 28 U.S.C. § 1291.

                          STATEMENT OF THE ISSUE


      Whether the District Court abused its discretion in denying Popoca’s Motion

for Compassionate Release because Popoca has exhausted the available
                                                                                            99
administrative remedy and he has met the “extraordinary and compelling reasons

requirement to warrant a sentence reduction.

                           STATEMENT OF THE CASE


      A.     Course of Proceedings and Dispositioii Below


      On June 15, 2010, a grand jury sitting in the United States District Court for

the Northern District of Florida, Pensacola Division, returned a six (6) count

Indictment charging Popoca and five other co-defendants. See Doc. 34. Count 1


      “Doc.” refers to the United States District Court for the Northern District of Florida,
Pensacola Division in Criminal No.3;lO-cr-00067-RV-EMT-l, which is immediately followed by
the Docket Entry Nmnber.

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charged Popoca with Conspiracy to Distribute and Possess with Intent to Distribute

5 Kilograms or More of Cocaine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and

(b)(l)(A)(ii). Id. Count 2 charged Popoca with Possession with Intent to Distribute

500 Grams or More of Cocaine, in violation of21 U.S.C. § 841(b)(l)(B)(ii) and 18

U.S.C. § 2. Id. Count 3 charged Popoca with Using, Carrying, and Possessing a

Firearm During and In Relation to a Drug Trafficking Crime, in violation of 18

U.S.C. § 924(c)(1).Id. Count 4 charged Popoca with Possession of a Firearm by an

Illegal Alien, in violation of 18 U.S.C. §§ 922(g)(5)(A) and 924(a)(2). Id. The

Indictment also contained a Firearm Forfeiture, pursuant to 18 U.S.C. § 3665.Id.

      On September 29,2010, a three-day jury trial commenced. See Doc. 141.

      On October 1,2010,the grand jury returned a guilty verdict as to Popoca on

Counts 1-4 ofthe Indictment. See Doc. 146.


      On December 8, 2010, Popoca was sentenced to a term of 360 months’

imprisonment,5 years supervised release, $2,000.00 Fine, and a Mandatory Special

Assessment Fee of$400.00. See Docs. 189,224.

      On December 21,2010,Popoca timely filed a Notice ofAppeal. See Doc.201.

      On March 1,2013,the United States Court ofAppeals for the Eleventh Circuit

(“Eleventh Circuit”)issued an Order affirming thejudgmentofthe District Court.See

Doc. 306.


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       On October 7,2013,Popoca filed a Motion under 28 U.S.C.§ 2255 to Vacate,

Set Aside or Correct Sentence by a Person in Federal Custody(“§ 2255 Motion”),

which was denied March 9,2017. See Docs. 324,329,448,449.

       On January21,2022,Popoca filed a Motion for Compassionate Release,which

was denied on February 21, 2022. See Docs. 492,494.

       B.     Statement of the Relevant Facts


              1.     Offense Conduct


       The information contained in this section of the presentence report was

obtained from the U.S. Attorney’s Office, the Drug Enforcement Administration

(DEA)and the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF). See

PSR112."

       In December 2005,the government began an investigation of a large cocaine

distribution network in the Northern District ofFlorida. This network originated from

the Foley and Elberta, Alabama, area. Numerous Indictments and convictions were

obtained during the course of this ongoing investigation. On September 29, 2009,

Edgar and Sammy Granados, pled guilty to Conspiraey to Possess With Intent to

Distribute Cocaine,in the Southern District of Alabama. On April 8,2010, Charles



      “PSR” refers to the Presentence Report in this case, which is immediately followed by the
paragraph(“X’) number.

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Nettles pled guilty to Conspiracy to Possess With Intent to Distribute Cocaine,in the

Northern District of Florida. These defendants in related cases have provided

information that has further uncovered criminal cocaine trafficking activity

concerning those named in- this Indictment. See PSR ^13.

             2.    Trial Proceeding


      On September 29, 2010, a jury trial was held Before Senior Judge Roger

Vinson. See Doc. 141. Popoca was found guilty as to Counts 1 through 4 of the

Indictment. See Doc. 146. The case was referred to the U.S.Probation Office for the

preparation ofthe PSR. See Doc. 185.

             3.    Presentence Report Calculations and Recommendations

      On November 2, 2010, the U.S. Probation office prepared Popoca’s PSR,

which was revised on December 1, 2010. Id. The 2010 edition of the Guidelines

Manual has been used in this case as there are no ex post facto concerns. See PSR ^

54. Pursuant to USSG § 3D1.2(d), the offense level is determined largely on the

quantity of a substance involved, all counts shall be grouped into a single Group.

Therefore, Counts 1, 2 and 4 were grouped together. See PSR |T[ 55-56. The PSR

recommended a Base Offense Level of34 because Popoca was held accountable for

37 kilograms of cocaine, pursuant to USSG § 2D1.1(c)(4). See PSR 58. Four(4)

levels were added because Popoca was an organizer or leader, pursuant to USSG §

                                           4
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3Bl.l(a). See PSR 1 61. Two (2) levels were added for obstruction of justice,

pursuant to USSG § 3C1.1. See PSR t 62. The PSR calculated Popoca’s Total

Offense Level to be level 40. See PSR^68.Popoca’s total criminal history points of

0, placed him in Criminal History Category I. See PSR 1 71. Based upon a Total

Offense Level of40 and a Criminal History Category ofI,the guideline imprisonment

range was 292 to 365 months. On Count 3,the guideline imprisonment range was 60

months, which must run consecutive to Counts 1,2 and 4. See PSR ^ 103-104.

            4.     Sentencing Proceeding


      On December 8, 2010, a Sentencing Hearing was held before Senior Judge

Roger Vinson. See Doc. 189. The Court sentenced Popoca to a 300-month term of

imprisonment on Counts 1 and 2,a concurrent 120-month term ofimprisonment on

Count4,and a consecutive 60-month term ofimprisonment on Count 3.See Doc.224

at 1-2. A timely Notice of Appeal was filed on December 21,2010. See Doc. 201.

            4.     Appellate Proceeding


      On Appeal,Popoca raises three issues:(1) Whether the jury instructions and

the Government’s closing argument constructively amended the indictment; (2)

Whether the evidence was sufficient to establish Popoca’s convictions for use.

carrying, or possession ofa firearm in furtherance ofa drug trafficking crime and for

possession of a firearm while unlawfully in the United States; and (3) Whether the

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district court violated Fed.R. Crirti. P.32(i)(l)(C)and his due process right to notice

when it relied on evidence outside of the Presentence Investigation Report in

enhaneing his sentence for obstruction ofjustice and drug quantity. After careful

review,the Eleventh Circuit concluded that Popoca’s claims lack merit and affirmed

his sentences and convictions. See Doc.306; United States v. Torres-Rodriguez,511

F. App’x 866(2013).

             5.    PostconvictionProceeding

      On October 7, 2013, Popoca filed a § 2255 Motion and amended it on

November 12, 2013, alleging that his attorney rendered ineffective assistance of

counsel in Grounds One through Seven. He further alleges that his advisory

guidelines range was computed on the basis offacts not established by ajury finding

ofproofbeyond every reasonable doubt. See Docs.324,329. On February 12,2014,

the government filed a Response in Opposition(“GR”)to Popoca’s § 2255 Motion,

requesting the Court to deny Popoca’s motion without a hearing. See Doc. 344. On

March 10, 2014,Popoca filed a Reply to GR. See Doc. 348. On January 23, 2017,

Magistrate Judge Elizabeth M. Timothy issued a Report and Recommendation

(“R&R”)recommending that Popoca’s motion be denied. See Doc. 434. On March

7, 2017, Popoca filed an Objection to R&R. See Doc. 447. On March 9, 2017, the

Court adopted the R&R and denied Popoca’s § 2255 Motion. See Docs. 448,449.

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                                    ARGUMENT


      As a preliminary matter, Popoca respectfully requests that this Court be

mindM that pro se pleadings are held to a less stringent standard than pleadings

drafted by attorneys and will, therefore, be liberally construed. See Tannenbaum v.

United States. 148 F.3d 1262,1263(1         Or. 1998);Estelle v. Gamble,429 U.S.97,

106(1976)(same); and Haines v. Kerner,404 U.S. 519,520(1972)(same).

      A.     Standard of Review


      Because Section 3582(c)(1)(A) permissively states that a district court "may'

reduce a sentence after eligibility is established, we review for abuse of discretion a

district court's grant or denial ofan eligible defendant's reduction request. See United

States V. Bryant, 996 F.3d 1243(11th Cir. 2021).

      B.     The District Court Abused Its Discretion in Denying Popoca’s
             Motion for Compassionate Release Because Popoca Has
             Exhausted the Available Administrative Remedy and He Has
                          U
             Met    the     Extraordinary        and    Compelling       Reasons99
             Requirement to Warrant a Sentence Reduction.


             1.     Administrative Requirement

      The governmentconceded thatPopoca has metthe administrative and statutory

requirements to seek relief in the District Court, stating that:

      “The government concedes Popoca made a request for compassionate
      release to the Warden ofthe prison where he is incarcerated,and 30 days
      passed before he filed his motion for compassionate release. A copy of

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      the warden’s letter denying Popoca’s request for compassionate release
      is attached to this response as Exhibit 1.”

See Doc.493 at 3.Hence,exhaustion ofadministrative remedies is not an issue in this

case. See 18 U.S.C. § 3582(c)(1)(A).

      As Popoca’s motion is properly before the Court, the next issue is whether

Defendant is eligible for compassionate release. For Defendant to be eligible for

compassionate release,the Court,after considering the relevant factors set forth at 18

U.S.C. § 3553(a), must determine that “extraordinary and compelling reasons'

warrant a reduction in Popoca’s term of imprisonment and that the reduction is

’consistent with applicable policy statements issued bythe Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

             2.     Extraordinary and Compelling Reasons” for Release

      The District Court’s judgment denying Popoca’s Motion for Compassionate

Release should be reversed and remanded for consideration because Popoca has

exhausted the available administrative remedy and he has met the “extraordinary and

compelling reasons” requirement to warrant a sentence reduction.

      The District Court’s Order denying Popoca’s Motion for Compassionate

Release was based on the reasons set out in the GR [Doc. 493], which reads as

follows:




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    Popoca has not established that he has a serious medical condition that
    substantially diminishes his ability to provide self-care within the
    environment ofa correctional facility and from which he is not expected
    to recover. See United States v. Battle,        F. App’x         ,2021 WL
    4550925, *1-3 (3d Cir. 2021)(ruling the defendant “did not make the
    threshold showing that ‘extraordinary and compelling reasons’
    supported his compassionate release” where the defendant had asthma
    and hypertension, had contracted and recovered from COVID-19, and
    had been fully vaccinated against COVID-19); United States v. Harris,
    989 F.3d 908,910,912(11* Cir.2021)(affirming district court’s denial
    of compassionate release where the defendant had lupus, scleroderma,
    hypertension, glaucoma, and past cases of bronchitis and sinus
    infections); United States v. Olds, Case No. 3:09cr4/MCR, Doc. 93,
    pages 3-4 & n.4(N.D. Fla. 2021)(compassionate release denied where
    the defendant had hypertension,a body mass index ofapproximately 32,
    major depressive disorder, anxiety disorder, and post-traumatic stress
    disorder, was a former smoker, and had been vaccinated against
   COVID-19); United States v. Gold,2020 WL 2197839(N.D.111. 2020)
   (compassionate release denied for a 65-year-old defendant who is
   suffering from pre-emphysema, high blood pressure, and high
   cholesterol,conditions that“are common and do not appear to be among
   those the CDC has identified as significant risk factors”); United States
   V. Godofsky, 2020 WL 2188047, *2 (E.D. Ky. 2020) (denying

   compassionate release because, “even in the context of the ongoing
   public health crisis,” a 63-year-old defendant who is suffering from high
   blood pressure, high cholesterol, and asthma and who is taking
   medications that weaken his immune system does not present an
   extraordinary or compelling circumstance); United States v. Johnson,
   2020 WL 2124461(E.D.N.Y.May 5,2020)(concluding that high blood
   pressure and heart murmur “do not meet the standard of extraordinary
   or compelling circumstances, even in light of the COVID-19
   pandemic”); United States v. Gz7eno,2020WL 1307108,*3-4(D.Conn.
   2020) (ruling that a defendant with asthma, a back injury, lifelong
   anxiety, high blood pressure, high cholesterol, and allergies had not
    demonstrated that his medical condition was such that he could no
    longer provide self-care and was not entitled to compassionate release);
    Mattingly, 2020 WL 974874, *5-6 (ruling that a defendant who was a

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      double amputee with limited ability to ambulate had not demonstrated
      that his medical condition was such that he could no longer provide
      self-care and was not entitled to compassionate release); Lisi, 440
      F.Supp.3d at 250-51 (ruling that a defendant with chronic asthma; a
      maxillary cyst; chronic pain in his back, shoulders, and left arm; and
      chronic high blood pressure had not demonstrated that his medical
      condition was such that he could no longer provide self-care and was not
      entitled to compassionate release on that basis); United States v. Clark,
      2019 WL 1052020, at *1, 3(W.D.N.C. 2019)(ruling that a defendant
      who had diabetes, stage-3 kidney failure, and back issues requiring a
      walker had not demonstrated that his medical condition was such that he
      could no longer provide self-care and was not entitled to compassionate
      release); United States v. Lynn, 2019 WL 3082202, at *1-3 (S.D. Ala.
      2019)(ruling that a defendant who had stage-2 chronic kidney disease,
      atrial fibrillation, moderate to severe coronary disease, and other
      illnesses, had not demonstrated that his medical condition was such that
      he could no longer provide self-care and was not entitled to
      compassionate release).

      Based on the facts of this case and the above authorities, the Court
      should rule thatPopoca is not eligible for compassionate release because
      he has failed to show extraordinary and compelling reasons.

See Doc. 493 at 8-10.


      Popoca raised the following issues as “extraordinary and compelling reasons.

warranting a sentence reduction as argued in his initial Motion for Compassionate

Release [Doc. 492]:

                    a.    Popoca’s Current Conditions of Confinement and
                          Health Conditions


      Popoca, age 44, suffers from incurable, progressive disease, from which

Popoca will never recover,to wit: hypertension and allergic rhinitis, on top ofthe list

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of medical conditions he has. See Doc. 493-2.


      Facts:


      Hypertension. Hypertension is another name for high blood pressure. It can
      lead to severe health complications and increase the risk of heart disease,
      stroke, and sometimes death.Blood pressure is the force that a person’s blood
      exerts against the walls of their blood vessels. This pressure depends on the
      resistance ofthe blood vessels and how hard the heart has to work.

      Hypertension is a primary risk factor for cardiovascular disease, including
      stroke,heart attack,heartfailure,and aneurysm.Keeping blood pressure under
      control is vital for preserving health and reducing the risk ofthese dangerous
      conditions.


      Aller2ic Rhinitis. Allergic rhinitis,also called hay fever,is an allergic reaction
      that causes sneezing,congestion,itchy nose and sore throat.Pollen,pet dander,
      mold and insects can lead to hay fever symptoms.Hay fever can make you feel
      awful, but you can find relief with lifestyle changes, allergy medications and
      immunotherapy (allergy shots). Allergic rhinitis (hay fever) is an allergic
      reaction to tiny particles in the air called allergens. When you breathe in
      allergens through your nose or mouth, your body reacts by releasing a natural
      chemical called histamine. Several indoor and outdoor allergens cause hay
      fever. Common causes include dust mites, mold, pet dander and pollen fi-om
      trees and plants.

      COVID-19 has infected hundreds of prisoners and staff in city jails, state

prisons and federal prisons.

      New York, California and Ohio were among the first to release incarcerated

people. Other states have followed, saying it is the only way to protect prisoners.

correctional workers, their families and the broader community.

      Jails and prisons often lack basic hygiene products, have minimal health care

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services and are overcrowded. Social distancing is nearly impossible except in

solitary confinement, but that poses its own dangers to mental and physical health.

       While there is absolutely no evidence to support that any person is more or less

likely to be infected [with COVID-19] based on existing medical conditions,

Popoca’s argues that, first, prisoners experience exponentially higher rates of

COVID-19 than the general population. As ofJune 2020,“[t]he COVID-19 case rate

for prisoners was 5.5 times higher than the US population case rate.553 Second, and

more critically, older individuals and individuals with chronic medical conditions are

at greater risk of hospitalization and death from COVID-19. For example,the CDC

reports that persons aged 40 to 49 are 15 times more likely to be hospitalized and 130

times more likely to die from COVID-19 compared to persons aged 18 to 29 and

younger."^ In other words, Popoca does not only contend that his health conditions

increase his risk of getting COVID-19; but also, he contends that those conditions

greatly increase the risk that, ifcontracted, his COVTD-19 infection would be severe

or even deadly.




       Brendan Saloner,et al., COVID-19 Cases andDeaths in Federal and State Prisons, J. ofthe
Am. Med. Ass’n (July 8,2020), https://iamanetwork.com/iom'nals/iama/fullarticle/2768249.


      Hospitalizations & Death by Age, CTRS. FOR DISEASE CONTROL & PREVENTION,
https://www.cdc.gOv/coronavirus/2019-ncov/covid-data/investigations-discoverv/hospitalization-
death-bv-age.html (last updated May 14, 2021).

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      BOP Amid Covid-19


      One consequence ofovercrowding is that prison officials have a difficult time

providing adequate health care.

      In 2011 the U.S. Supreme Court ruled that overcrowding xmdermined health

care in California’s prisons, causing avoidable deaths. The justices upheld a lower

court’s finding that this caused an “unconscionable degree ofsuffering” in violation

ofthe Eighth Amendment’s prohibition on cruel and unusual punishment.

      Amid a worldwide pandemic, such conditions are treacherous. Some of the

worst COVID-19 outbreaks in U.S. prisons and jails are in places - like Louisiana

and Chicago - whose prison health systems have been ruled unconstitutionally

inadequate. Criminologists and advocates say many more people should be released

from jails and prison, even some convicted ofviolent crimes ifthey have imderlying

health conditions.


      The decision to release prisoners cannotbe made lightly.Butarguments against

it discount a reality recognized over two centuries ago: The health of prisoners and

communities are inextricably linked. Coronavirus confirms that prison walls do not.

in fact, separate the welfare ofthose on the inside from those on the outside.

      COVID-19 Is a Public Health Disaster That Threatens Vulnerable
      Incarcerated Persons like Popoca.




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      As of May 18, 2022,the BOP has 138,786 federal inmates in BOP-managed

institutions and 13,382 in community-based facilities. The BOP staffcomplement is

approximately 36,000. There have been 295 federal inmate deaths and 7 BOP staff

member       deaths      attributed        to       COVID-19         disease.       See

https://www.bop.gov/coronavirus/(last accessed May 18,2022).Bottom line,Federal

facilities are not immune.


      Conditions ofconfinement create an ideal environment for the transmission of

highly contagious diseases like COVID-19. Because inmates live in close quarters.

there is an extraordinarily high risk ofaccelerated transmission ofCOVID-19 within

jails and prisons. Inmates share small cells, eat together and use the same bathrooms

and sinks      They are not given tissues or sufficient hygiene supplies”); Joseph A.

Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases

45181:1047-1055,at https://academic.oup.eom/cid/article/45/8/1047/344842(noting

that in jails “[t]he probability oftransmission ofpotentially pathogenic organisms is

increased by crowding, delays in medical evaluation and treatment, rationed access

to soap, water, and clean laundry, [and] insufficient infection-control expertise”).

BOP employees are complaining that they lack masks and gloves,hand sanitizer, and

even soap.




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      “The [BOP] management plan itself acknowledges [that] symptoms of

COVID-19 can begin to appear 2-14 days after exposure, so screening people based

on observable symptoms is just a game of catch up. . . . We don’t know who’s

mfQcXQd.'"' Manrique,2020 WL 1307109, at *1.10

      Indeed,as the Second Circuit recently observed,presentinformation aboutthe

COVID-19 epidemic and the BOPs’ prior failings in 2019 to adequately protect

detainees and allow them access to counsel and their families following a fire and

power outages suggestthatthe virus’impact will likely be“grave and enduring.”

Defs. ofNew York,Inc. v. Fed. Bureau ofPrisons, No. 19-1778,2020 WL 1320886,

at *12(2d Cir. Mar. 20,2020).

      Popoca*s Vulnerability to COVID-19 Due to His Hi^h Medical Risk
      Is an Extraordinary and Comvellins Reason That Warrants a
      Sentence Reduction.


      Popoca is particularly vulnerable to COVID-19 because of his hypertension

and allergic rhinitis. At the time ofsentencing, the Court could not have anticipated

that Popoca’s diseases will place him in the “high risk” category nor the existence of

the COVID-19. As the COVID-19 pandemic continues, it potentially poses a

particular issue for older people and people with pre-existing medical conditions

(such as serious heart condition,lung disease,and autoimmime disease)appear to be

more vulnerable to becoming severely ill with the COVID-19 virus.


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   Lum Problems, Includins Asthma
   COVID-19 targets the lungs, so you’re more likely to develop severe
   symptoms if you have preexisting lung problems, such as: Moderate to
   severe asthma, Chronic obstructive pulmonary disease(COPD),Lung
   cancer, Cystic fibrosis. Pulmonary fibrosis. In addition to being an
   asthma trigger,smoking or vaping can harm your lungs and inhibit your
   immune system, which increases the risk ofserious complications with
    COVID-19.


   Heart Disease. Diabetes and Obesity
   People with diabetes, heart disease, high blood pressure or severe
   obesity are more likely to experience dangerous symptoms if infected
   with COVID-19.This may be ofparticular concern in the United States,
   which has seen increasing rates of obesity and diabetes over the years.
   Obesity and diabetes both reduce the efficiency of a person’s immune
   system.Diabetes increases the risk ofinfections in general. This risk can
   be reduced by keeping blood sugar levels controlled and continuing your
   diabetes medications and insulin. Your risk ofserious illness may also
   be higher ifyou have heart diseases such as cardiomyopathy,pulmonary
   hypertension, congenital heart disease, heart failure or coronary artery
    disease.


   How SARS-COV-2 Causes Disease and Death in COVID-19
   “You’d think underlying lung problems or immune system problems
   will be the greatest risk,” says Dr. Levitt. “But it seems the biggest risk
   factors have been hypertension, diabetes and obesity.” That has led
   many scientists to suspect thatthe profound inflammation seen in severe
   cases of COVID-19 may be yet another problem linked to
   SARS-COV-2’sfondnessfor ACE2.People with diabetes,hypertension
   and heart disease have more ACE2 on their cells as a response to the
   higher levels ofinflammation that come with their condition; ACE2 has
   an anti-inflammatory effect. When SARS-COV-2 sticks to ACE2 and
   reduces its ability to do itsjob,the underlying inflammation gets worse.

    When inflammation gets completely out ofcontrol the body enters what
    is called a cytokine storm. Such storms drive the most severe outcomes
    for COVID-19,including multi-organ failure. There is thus an obvious
    role for anti-inflammatory drugs.Butknowing when to administer them

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        is hard. Go too late, and the storm will be imstoppable; go too early,and
        you may dampen down an immune response that is turning the tide. A
        recent article in the Lancet suggests that it would help if COVE)-19
        patients were routinely screened for hyper-inflammation to help identify
        those who might benefit from anti-inflammatory drugs. But not
        everyone is convinced today’s drugs have much to offer. “We tried [a
        range ofanti-inflammatory treatment]and it actually didn’t work,” says
        Rajnish Jaiswal, who has been working on the front line of COVID-19
        treatment at New York’s Metropolitan Hospital.

https://www.economist.eom/briefing/2020/06/06/how-sars-cov-2-causes-disease-a
nd-death-in-covid-19.
        Hence, it is appropriate for Popoca to be released into an environment where

he and his loved ones can control and direct his medical care. It is important for all

ofus to remember that convicted criminals are sent to prison as punishment—^notfor

punishment. People who are severely debilitated or are in the midst of dying are

usually no longer a threat to society, and there is not a compelling social advantage

to keeping them in prison.

Note;         According to the Centers for Disease Control and Prevention(“CDC”),
              COVID-19 is a new disease and there is limited information regarding
              risk factors for severe disease.Based on currently available information
              and clinical expertise, older adults and people of any age who have
              serious underl3dng medical conditions might be at higher risk for severe
              illness from COVID-19.


        a.    Based on what we know now,those at high-risk for severe illness from
              COVID-19 are:
              •      People 60 years and older
              •      People who live in a nursing home or long-term care facility

        b.    People ofall ages with underlying medical conditions,particularly ifnot
              well controlled, including:

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                   Cancer
                   Chronic kidney disease
                   Chronic lung diseases, including COPD (chronic obstructive
                   pulmonary disease),asthma(moderate-to-severe),interstitial lung
                   disease, cystic fibrosis, and pulmonary hypertension
                   Dementia or other neurological conditions
                   Diabetes(type 1 or type 2)
                   Down syndrome
                   Heart conditions (such as heart failure, coronary artery disease,
                   cardiomyopathies or hypertension)
                   HIV infection
                  Immunocompromised state (weakened immune system)
                   Liver disease
                  Overweight and obesity
                  Pregnancy
                   Sickle cell disease or thalassemia
                   Smoking, current or former
                   Solid organ or blood stem cell transplant
                   Stroke or cerebrovascular disease,which affects blood flow to the
                   brain
                   Substance use disorders


are the hallmark of those who are most endangered by the instant pandemic. These

are “extraordinary and compelling reasons” for his release. See Note 1(A),§ 1B1.13

(expressly recognizing that “other reasons” may exist for granting compassionate

release), see Note 1(D), § IB 1.13 Note 1(D)(recognizing that extraordinary and

compelling reasons exists “other than, or in combination with,the reasons described

in subdivisions(A)through(C).”). Here,Popoca’s high susceptibility to COVID-19

falls within the purview of this catchall. Moreover, courts have noted that while §

1B1.13 provides “helpful guidance”for determining whatconstitutes an extraordinary

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and compelling reason to warrant a sentenee reduction,the inquiry does not end there.

Rather, district courts have the freedom to shape the eontours of what constitutes an

extraordinary and compelling reason to warrant compassionate release. Given the

highly infeetious nature of COVID-19,the inability in a facility like FCI to practice

any of the hygienic and social distancing techniques that the Center for Disease

Control has put in place to prevent rapid transmission, and the fact that Popoca

suffers jfrom ailments that have already been identified as “high risk,” this Court

should find that Popoca’s legitimate medical risk is a sufficiently extraordinary and

compelling basis for granting compassionate release.

      A recent letter by fourteen U.S. senators of both parties underscores this

position. Writing to U.S. Attorney General William Barr and BOP Director Michael

Carvajal, they stated: “[We]urge you to take necessary steps to protect [inmates in

Federal custody] particularly by using existing authorities under the First Step Act

(FSA). . . . We have reviewed the Federal Bureau of Prisons (BOP) COVID-19

Action Plan, which ... notably does not include any measures to protect the most

vulnerable staffand inmates      [I]t is important...that the most vulnerable inmates

are released or transferred to home confinement, if possible.” And as the Second

Circuit noted about COVID-19 in a unanimous recent opinion,“The impact of this

recent emergeney on jail and prison inmates, their counsel. . .,the United States

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Attorneys,and the BOP,including the individual Wardens and the personnel ofeach

facility, is just beginning to be felt. Its likely course we cannot foresee. Present

information strongly suggests, however, that it may be grave and enduring.” Fed.

Defs. ofNew York, Inc., 2020 WL 1320886, at *12.

      Finally, in the last months, other jails and prisons have already started to

proactively release elderly and sick inmates who are at high risk ofinfection, as well

as releasing as many nonviolent offenders as possible in an effort to reduce the

incarcerated population and thus reduce the risk of spread. For example, on March

25, 2020, New York City announced that it would release 300 inmates from Rikers

Island. Approximately 1,700 inmates have been released from Los Angeles County

Jails, and 1,000 inmates are to be released from New Jersey jails. Therefore, while

COVID-19 remains an unprecedented emergency,many states(and politicians)have

recognized that they have a duty to flatten the curve inside incarcerated spaces. So,

too, should this Court.

      Courts Have Granted Compassionate Release in Lieht ofthe Instant
      Pandemic,


      Courts in the Southern and Eastern Districts of New York have granted

compassionate release based on COVID-19. See United States v. Wilson Perez, No.

17 Cr. 513(AT)(S.D.N.Y. Apr. 1, 2020), ECF No. 98,(granting release based on



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health issues and finding court could waive exhaustion requirement; government did

not object based on defendant’s medical conditions); United States v. Mark Resnick,

No.12Cr.152(CM)(S.D.N.Y.April2,2020),ECFNo.461(granting compassionate

release because of defendant’s age and medical conditions in light of COVID-19);

United States v. Eli Dana,No. 14 Cr.405(IMF)(S.D.N.Y. Mar.31,2020),ECF No.

108(granting compassionate release motion,where government consented, because

ofdefendant’s age and medical conditions and the risk posed by COVID-19); United

States V. Damian Campagna, No. 16 Cr. 78 (LGS), 2020 WL 1489829, at *1

(S.D.N.Y. Mar. 27, 2020)(granting compassionate release sentencing reduction to

defendant convicted of firearms offenses based on defendant’s health and threat he

faced firom COVID-19;government consented to reduction and agreed health issues

and COVID-19 were basis for relief); United States v. DanielHernandez,No. 18 Cr.

834(PAE)(S.D.N.Y. Apr. 1, 2020),ECF No. 446 (granting compassionate release

after BOP denied the request and converting remaining sentence to home

confinement).

      So,too, have courts across the country. See United States v. Andre Williams,

No.04 Cr.95(MCR)(N.D.Fla. Apr. 1,2020)(granting release based on defendant’s

health and COVID-19); United States v. Teresa Ann Martin, No. 18 Cr. 232(TOR)

(E.D. Wa.Mar.25,2020),ECF No.834(waiving any further exhaustion attempts as

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futile and granting compassionate release based on defendant’s health issues and

COVID-19 pandemic); UnitedStates v.JeremyRodriguez,l^o.03 Cr.271(AB)(E.D.

Pa.Apr. 1,2020),ECF No.135(finding court has independent authority to determine

'extraordinary and compelling”reasons and granting compassionate release based in

part on defendant’s health and COVID-19;no exhaustion issue because 30 days had

passed); United States v. Pedro Muniz, No. 09 Cr. 199 (S.D. Tex. Mar. 30, 2020),

ECF No.578(granting compassionate release based on health conditions that made

inmate susceptible to COVID-19); United States v. SamuelH.Powell,No.94 Cr.316

(ESH)(D.D.C. Mar. 27, 2020), ECF No. 97 (granting compassionate release for

55-year old defendant with respiratory problems in light ofoutbreak,without waiting

for 30 days or other exhaustion ofadministrative remedies through the BOP); United

States V. Agustin Francisco Huneeus, No. 19 Cr. 10117 (IT)(D. Mass. Mar. 17,

2020),ECF No.642(granting defendant’s emergency motion based on COVID-19);

US V. Foster,No. 1:14-cr-324-02(M.D.Pa. Apr.3,2020)(“The circumstances faced

by our prison system during this highly contagious,potentially fatal global pandemic

are unprecedented. It is no stretch to call this environment ‘extraordinary and

compelling,’ and we well believe that, should we not reduce Defendant’s sentence.

Defendant has a high likelihood ofcontracting COVID-19 firom which he would “not

expected to recover.” USSG §§ 1B1.13. No rationale is more compelling or

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extraordinary.”); US v. Powell, No. l;94-cr-0316-ESH (D.D.C. Mar. 24, 2020),

Recommendation, Dkt. 94 (Court recommendation to BOP to immediately place

defendant, who is 55-years old and suffers from several respiratory problems

(including asthma and sleep apnea)into home confinement to serve the remainder of

his prison term).

      See also. United States v. Watkins, Case No. 15-20333 (E.D. Mich. Jul. 16,

2020), granting compassionate release to prisoner whose only underlying condition

was previously-treated latent TB; and Singh v. Barr,No.20-CV-02346-VKD,2020

WL 1929366, at *10(N.D. Cal. Apr. 20,2020)(granting release from immigration

custody for petitioner with latent TB,hypertension, and obesity); and United States

V. Gerard Scparta,No. 18 Cr. 578(AJN),ECF Dkt.69(S.D.N.Y. Apr. 19,2020). In

Scparta, Judge Nathan granted a compassionate release motion of a 55-year old

defendant who suffers from high blood pressure, high cholesterol, sleep apnea, and

hypertension. The court found that it could waive § 3582(c)(l)(A)’s 30-day waiting
                                                                           99   ((
period and hear the motion, and describes FCI Butner’s “Kafkaesque               14-day

quarantine” process- which is neither a true “quarantine” nor actually limited to 14

days—^before releasing inmates to home confinement.

      Fact; The vaccine mandates. It’s now a proven fact that being vaccinated and

boosted neither protects you from contracting the virus, nor spreading it. And more

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shocking is the new data that the vaccinated are more likely to contract Omicron than

the unvaccinated. Hence,it is wrong to downplay the effectiveness and durability of

natural immunity from previous COVID exposure. This is the T and B cell immunity

that endures long after antibodies have waned.

                    b.    Drug Weight Calculation


             Drug Weight


      The drug weight is an element ofthe offense and that any fact that increases a

penalty is an element that must be charged in an indictment and proved to a jury

beyond a reasonable doubt. Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348,

147 L,Ed.2d 435(2000)and Alleyne v. United States, 570 U.S. 99, 133 S.Ct. 2151,

186 L.Ed.2d 314(2013). Under those two cases,ifPopoca were sentenced today,his

sentence would be based on: conspiracy to distribute and possess with intent to

distribute 5 kilograms or more of cocaine (Count 1); possession with intent to

distribute 500 grams or more of cocaine base (Count 2), and not 37 kilograms of

cocaine base.


      In Apprendi, the Supreme Court held that the Sixth Amendment to the

Constitution requires that any fact that increases the penalty for a crime, other than

the fact of a prior conviction, must be submitted to a jury and proved beyond a

reasonable doubt.


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      Alleyne made clear that in order to preserve a defendant’s Sixth Amendment

right to a jury trial, any fact that increases the sentence is an element of the crime

which must be submitted to thejury.            570 U.S. at 116,133 S.Ct. 2151.In this

case,Popoca was found guilty ofconspiracy to distribute and possession with intent

to distribute 5 kilograms or more ofcocaine(Count 1)and possession with intent to

distribute 500 grams or more ofcocaine(Count 2). Under                 this court is not

jfree to ignore that finding and impose a penalty based on the 37 kilograms ofcocaine

referenced in the PSR. Thus, although Apprendi and Alleyne are not retroactively

applicable on collateral review, this court joins other courts in finding that their

holdings are applicable in the context of the First Step Act. See United States v.

Simons, No. 07-CR-00874, 375 F.Supp.3d 379, 487, 2019 WL 1760840 at *6

(E.D.N.Y.Apr.22,2019)(citing Alleyne and finding that penalties are determined by

facts submitted to a grand jury, trial jury, or established by a guilty plea while

findings by ajudge may be used to determine a sentence within the statutory penalties

and cannot change “the mandatory minimum sentence now applicable”); United

States V. Dodd, No. 3;03-CR-18-3, 372 F.Supp.3d 795, 2019 WL 1529516 (S.D.

Iowa, Apr. 9, 2019)(finding in a First Step Act case that “[bjoth Apprendi and

Alleyne are binding on this Court for sentencings held today.”); United States v.

Davis, No. 07-CR-245(S)(l), 2019 WL 1054554(W.D.N.Y. Mar. 6, 2019), appeal

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docketed. No. 19-874 (2”*^ Cir. Apr. 5, 2019)(“[I]t is the statute of conviction, not

actual conduct, that controls eligibility under the First Step Act.”); see also United

States V. Laguerre, No. 5:02-CR-30098-3, 2019 WL 861417 (W.D. Va. Feb. 22,

2019)(relying without discussion on charged drug weight rather than PSR weight to

find defendant eligible for relief).

      Hence,Popoca claims that ifhe had been prosecuted after passage ofthe Fair

Sentencing Act, the government would have had to allege 5 kilograms or more of

cocaine even though he was held accountable for 37 kilograms of cocaine.

                    c.     Amendment 782 of the United States Sentencing
                           Guidelines


      In April of2014,the U.S. Sentencing Commission voted to lower the federal

drug sentencing guidelines by two (2) levels and sent USSG Amendment 782 to

Congress which became effective on November 1, 2014. The Commission

then considered whether to make this relief retroactive to current prisoners who have

already been sentenced.On July 18,2014,the Commission voted for full retroactivity

of USSG Amendment 782.


      Modification ofSentence pursuant to 18 U.S.C. S 3582(c)(2)


       In making such determination,the court shall substitute only the amendments

listed in subsection(c)for the corresponding guidelines provisions that were applied



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when the defendant was sentenced, and shall leave all other guideline application

decisions unaffected.” USSG § IBl.10(b)(1).

      After the district court determines what the modified sentence would be, the

district court is required to consider any applicable factors under 18 U.S.C. § 3553

in deciding whether a sentence modification is “warranted in whole or in part under

the particular circumstances of the case.” Dillon, 130 S.Ct. at 2692. “Because

reference to § 3553 is appropriate only at the second step of this circumscribed

inquiry, it cannot serve to transform the proceedmgs under § 3582(c)(2) into

preliminary re-sentencing proceedings.” Id. Thus, even if Popoca qualifies for

sentence modification under the first step of the analysis, the decision whether to

ultimately grant a modification is left to the sound discretion ofthe trial court. See

Dillon, 130 S.Ct. at 2692.

      Applying the First Step Act and USSG Amendment 782 calculations to this

case, Popoca’s Base Offense Level will be reduced to level 30. See also 2018

Sentencing Guidelines, indicating that “At least 5 KG but less than 15 KG of

Cocaine” calls for a Base Offense Level of30,pursuant USSG § 2D1.1(c)(5); adding

4 levels pursuant to USSG § 3Bl.l(a)for role in the offense; and 2 levels pursuant

to USSG § 3C1.1 for obstruction ofjustice, results in a Total Offense Level of 36 in

Criminal History Category I, yielding a Guideline range of 188 to 235 months.


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                   d.     Unwarranted       Sentence       Disparities    Among
                          Defendants With Similar Records Who Have Been
                          Found Guilty of Similar Conduct


      Popoca also argues that the unwarranted sentencing disparity factor must be

determined only with reference to those comparably situated defendants who were

sentenced at the time ofPopoca’s sentencing and those being sentenced today under

a different sentencing structure. Popoca’s sentence in 2010 is now disparate relative

to his co-defendants. See table below:


      Case No.                 Co-Defendant                         Sentence

 3:10-cr-00067-RV-2     Laureano-Arvayo, Jorge             -120 months

 3:10-cr-00067-RV-3     Jalomo-Ruiz, Juan                  -78 months

 3:10-cr-00067-RV-4     Torres-Rodriguez,                  -162 months


                        Francisco

 3:10-cr-00067-RV-5     Parker, Phillip Dewayne            -152 months
                                                           - reduced to 108 months

 3:10-cr-00067-RV-6     Wade, Charles                      -150 months


      In Nathson Fields v. City of Chicago, et ah, 981 F. 3d 534; 2020 U.S. App.

LEXIS 36615, the Seventh Circuit explains how Earl Hawkins, cooperating co

defendant was released on both federal and state charges in September 2014,with the

help ofAUSA WilliamHogan,Cook County Assistant States’ Attorney Brian Sexton,

and others. See 2020 U.S. App. LEXIS 41.


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      See United States v. Owens,996 F.3d 755 (6*^ Cir. 2021).Ian Owens appealed

the district court’s order denying his motion for compassionate release because it

concluded that the disparity between his lengthy sentence and the sentence that he

would receive following the passage of the First Step Act was not an extraordinary

and compelling reason to support compassionate release. However,the Sixth Circuit

held that,in making an individualized determination about whether extraordinary and

compelling reasons merit compassionate release, a district court may include, along

with other factors, the disparity between a defendant’s actual sentence and the

sentence that he would receive if the First Step Act applied. The circuit court also

considered he fact that his lengthy sentence resulted from exercising his right to a

trial and to his rehabilitative efforts as additional factors that considered together

constitute an extraordinary and compelling reason meriting compassionate release.

Therefore, the Sixth Circuit reversed the district court’s order and remanded for

reconsideration of Owens’ motion for compassionate release.

      Popoca essentially argues thatthe unwarranted sentencing disparityfactor must

be determined only with reference to those comparably situated defendants who were

sentenced at the time ofPopoca’s sentencing and those being sentenced today under

a different sentencing structure. Popoca’s sentence in 2010 is now disparate relative

to his co-defendants(as enumerated above).


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      Popoca is now,in effect,to be re-sentenced today,after the passage ofthe First

Step Act; and the need to avoid unwarranted sentencing disparities is to be assessed

at the time of his sentencing today relative to those comparable offenders who have

been sentenced following the passage ofthe First Step Act. Nor does the First Step

Act’s lack of retroactivity justify withholding sentencing relief given the overall

purpose ofthe First Step Act amendments,which expressly allowed for the possibility

for a sentence reduction based on an individualized assessment of the § 3553(a)

factors and other criteria.


      Next, Popoca argues that a reduction of sentence is warranted to avoid

unwanted sentencing           disparities, taking into consideration       case-specific

circumstances related to Popoca’s character, and in light of his post-sentencing

rehabilitation. Popoca contends that leaving his current sentence in place would

create at least two kinds of disparity: (1) a disparity between Popoca and his co

defendants; and(2)a disparity between Popoca and other drug offenders who have

received reductions under the First Step Act. In addition to the need to avoid

unwarranted sentence disparities,Popoca argues that the unique circumstances ofhis

case warrant a variance.


      See e.g.. United States v. Vazquez-Rivera, 470 F.3d 443,449(P* Cir. 2006)

(recognizing that “a district court may consider disparities among co-defendants in


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determining a sentence”); United States v. Parker,462 F.3d 273,277(3d Cir. 2006)

(“Although § 3553(a)does not require district courts to consider sentencing disparity

among co-defendants,it also does not prohibit them from doing so.”); United States

V. Gomez, 215 F. App’x 200, 202 (4* Cir. 2007)(implying that consideration of

co-defendant disparities is allowed, but concluding that Gomez was not similarly

situated to the co-defendant); United States v. Bennett,664 F.3d 997,1015 (5‘^ Cir.

2011)(“[A]voiding unwarranted sentencing disparities among co-defendants is a

valid sentencing consideration.”), cert, denied, 11-9109, 2012 WL 733887(Apr. 2,

2012); United States v. Simmons,501 F.3d 620,624(6* Cir.2007)(“A districtjudge.

however, may exercise his or her discretion and determine a defendant’s sentence in

light ofa co-defendant’s sentence.”); United States v. Pulley,601 F.3d 660,668(7

Cir. 2010)(“Pulley properly contends that § 3553(a)(6)does not allow unwarranted

sentencing disparities between co-defendants.” (citing Statham, 581 F.3d at 556;

Bartlett, 567 F.3d at 908-09)); United States v. Lazenby,439 F.3d 928,933(8* Cir.

2006)(invalidating a sentence that resulted in unwarranted disparities between the

sentences ofthe defendant and less culpable members ofrelated conspiracies); United

States V. Saeteurn,504 F.3d 1175,1181-83(9* Cir. 2007)(upholding as a legitimate

generalized § 3553(a)consideration the district court’s decision to compare defendant

with his co-defendants and sentence him in accordance with his role); United States


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V.   Smart, 518 F.3d 800, 804(10* Cir. 2008)(“[A] district court may also properly

accountfor unwarranted disparities between codefendants who are similarly situated,

and...the district court may compare defendants when deciding a sentence.”); United

States V. Zavala,300 F. App’x 792,795(11* Cir. 2008)(“It is not erroneous for the

district court to have considered the ‘unwarranted sentence disparities among

defendants with similar records who have been found guilty ofsimilar conduct’ when

the statute specifically mandates such consideration.”); United States v. Mejia, 597

F.3d 1329, 1344 (D.C. Cir. 2010)(considering and rejecting an argument that a

disparity between co-defendants’sentences was unwarranted),cert,denied, 131 S. Ct.

586 (2010).

                     e.    Recidivism Risk Level


        In Popoca’s almost 12 years ofimprisonment,Popoca has matured from a rash

young-adult pursuing a lawless lifestyle, to a reflective, empathetic matured

responsible middle-aged man.According to the Overview ofFederal Criminal Cases

published by the United States Sentencing Commission for the fiscal year of2020,

the average sentence imposed for murder is 255 months. U.S. SENTENCING

COMM’N,OVERVIEW OF FEDERAL CRIMINAL CASES,FISCAL YEAR 2020,

at 9 (2021). However, Popoca was not sentenced for murder, but rather for drug

conspiracy/trafficking. He was in his 30’s when he committed the instant offense.

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thus he has served more than one-third of his life behind bars. This is significant

punishmentfor his drug conspiracy/trafficking,depriving him of“the family life” that

he “cherish[es] more than anything.

      Popoca urges the Court to consider the following case citations:

            United States v. Sain, Case No. 07-20309 (E.D. Mich. Oct. 6,
            2020) quoting United States v. Redd,444 F. Supp. 3d 717, 729
            (E.D.Va.2020)(finding sentence reduction proper where inmate
            “demonstrated a commitment to self-improvement, devoting
            hundreds ofhours to vocational programs,assisting others in their
            rehabilitative efforts, exhibiting solid work habits, caring for
            mental health inmates, and in the process exceeding his
            supervisor’s expectations across most,ifnot all, areas of work”);
             United States v. Parker, No. 98-CR-00749, 2020 WL 2572525,
            at *11 (C.D. Cal. May 21,2020)(collecting cases).

            United States v. Clark,Case No. 11-CR-30-2-JPS(E.D. Wis. Jul.
            23, 2020) quoting that in Redd, the Court evaluated whether
            extraordinary and compelling reasons existed to reduce the
            sentence by considering(1)the sentence the defendant originally
            received compared to the one he would receive today; (2) the
            disparity between those sentences; and (3) the reason for that
            disparity. Redd, 2020 WL 1248493, at *5. There, the court
            determined that the disparity was “primarily the result of
            Congress’ conclusion that sentences like [defendant’s] are unfair
            and unnecessary.”Id. at *6.

             United States v. Maumau,No.2:08-CR-00758-TC-l 1,2020 WL
            806121, at *5 (D. Utah Feb. 18, 2020)(considering § 924(c)
            stacking changes one of several extraordinary and compelling
            reasons); United States v. Urkevich, No. 8:03CR37, 2019 WL
            6037391, at *4 (D. Neb. Nov. 14, 2019)(“A reduction in his
            sentence is warranted by extraordinary and compelling reasons,
            specifically the injustice of facing a term of incarceration forty

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            years longer than Congress now deems warranted for the crimes
            committed.”).
And


            Section IB 1.13 has not been updated to reflect pursuant to the
            2018 First Step Act, hence, defendants now have the ability to
            bring such motions directly. This anomaly has given rise to a
            debate concerning whether and to what extent § IB 1.13 applies
            to motions filed by defendants, with several circuits recently
            holding that § IB 1.13 applies only to motions filed by the Bureau
            of Prisons, and not to motions filed by defendants on their own
            behalf See United States v. McCoy, Nos. 20-6821, 20-6869,
            20-6875, 20-6877, 2020 WL 7050097, at *6-7 (4"^ Cir. Dec. 2,
            2020); United States v. Jones, No. 20-3701, 2020 WL 6817488,
            at *8-9 (6* Cir. Nov. 20, 2020); United States v. Gunn, No.
            20-1959, 2020 WL 6813995, at *2 (7"' Cir. Nov. 20, 2020);
            United States v. Brooker,976 F.3d 228,234(2d Cir. 2020).

      Factoring in Popoca’s medical condition, his continued risk to the public if

released appears to be markedly reduced as recidivism declines with age,particularly

when tempered by significant rehabilitation. Popoca is now almost 45 years old,

making him substantially less likely to recidivate than a younger offender. According

to a report by the U.S. Sentencing Commission,Popoca, at over 45 to 49 years old,

has a recidivism rate of 10.1 percent. See U.S. Sent’g Comm’n,The Effects ofAging

on Recidivism Among Federal Offenders 3(Dec. 2017)(reporting that “recidivism

measured by rearrest, reconviction, and reincarceration declined as age increased'

and that offenders aged 65 or older had a rearrest rate of2.1 percent, as compared to

16.4 percent for offenders younger than 29). To date, he has served almost 12 years

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in BOP custody and has not committed a violent offense while incarcerated. Given

the length of his imprisonment, his personal rehabilitation, and deeply felt remorse.

the Court must conclude that deterrence and public protection are no longer strong

§ 3553(a)factors weighing in favor of continued detention.

      Under 18 U.S.C. § 3582(c)(2), to modify Popoca’s sentence, taking into

account the advisory nature ofthe guidelines after          and the considerations set

forth in 18 U.S.C. § 3553(a). The court should find that a sentence oftime served is

sufficient,but not greater than necessary,and accounts for the sentencing factors the

court must consider pursuant to 18 U.S.C. § 3553(a), specifically deterrence.

protection ofthe public, and respect for the law.

      Finally,the combination offactors, age,health conditions,COVTD-19 risk, as

well as length oftime already served,post-sentencing rehabilitation,and the changing

sentencing landscapejustify granting compassionate release to Popoca.Else,it would

result in unwarranted sentencing disparities among similarly situated defendants.

More so, his BOP record does not show that he is violent or a threat to public safety.

                                  CONCLUSION


      For the above and foregoing reasons,Popoca’s conviction and sentence should

be vacated and remanded to the District Court for resentencing to time served.




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                                               Respectfully submitted,

                                                        o      o 3"ot7-
Dated: May 2^,2022                                                     Po^oc
                                               ALEJANDRINO POPOCA
                                               REG. NO.07408-017
                                               FCI BASTROP
                                               FEDERAL CORR.INSTITUTION
                                               P.O. BOX 1010
                                               BASTROP,TX 78602

   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT,
  TYPEFACE REQUIREMENTS.AND TYPE-STYLE REQUIREMENTS


      This document complies with the word limit of Fed.R.App.P. 32(a)(7)(B)(i),

because, excluding the parts ofthe document exempted by Fed.R.App.P. 32(f), this

document contains 8,357 words.

                        CERTIFICATE OF SERVICE


      I hereby certify that on May   2022,1 sent via U. S. Mail, postage prepaid,

a true and correct copy of the Appellant’s Brief to Robert G. Davies, at U.S.

Attorney’s Office, 21 East Garden Street, Suite 400,Pensacola, FL 32502.



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                                               ALEJANDRINO POPOCA
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                            APPENDIX lA:
               “District Court’s Order Denying Popoca’s
                                                      n
                  Motion for Compassionate Release
    Case 3:10-cr-00067-RV-EMT Document 494 Filed 02/01/22 Page 1 of 1
 USCA11 Case: 22-10994 Document: 9 Date Filed: 05/27/2022 Page: 47 of 54


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


 UNITED STATES OF AMERICA


                      VS                             CASENO.3:10cr67-RV


 ALEJANDRINO POPOCA


                              REFERRAL AND ORDER


 Referred to Judge Vinson on     1/28/2022
 Type of Motion/Pleading         MOTION for Compassionate Release Reduction
                                 in Sentence


 Filed by:      Defendant        on     1/21/2022               Doc. No. 492
          Stipulated/Consented/Joint Pleading/Unopposed
 Response: Government            on      1/28/2022              Doc. No.   493



                                               JESSICA J. LYUBLANOVITS
                                               CLERK OF COURT
                                               /s/ Sylvia Williams
                                               Deputy Clerk


                                       ORDER


Upon consideration ofthe foregoing,it is ORDERED this 1st day ofFebruary,2022,
that:

(a) The requested relief is DENIED,for the reasons set out in the government’s
        response (doc. 493)


                                      /s/ Roger Vinson
                                  ROGER VINSON
                                  SENIOR UNITED STATES DISTRICT JUDGE
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                            APPENDIX 2A:
               Popoca’s Notice of Appeal Re: Denial of His
              66


                                                      99
                  Motion for Compassionate Release
        Case 3:10-cr-00067-RV-EI\jjT.po^ugient495p.Rled 03/2^/22^ Page 1 of 3
     USCA11 Case: 22-10994   Document:
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                                                     of Florida Page: 49 of 54
                                Pensacola Division



United States of America                  §                      Case No,
V.                                        §                      3:10cr67
Alejandrino Popoca                        §

                                Notice of Appeal

Notice is hereby given that ALEJANDRINO POPOCA, defendant in the
above named cause, hereby appeals to the United States Court of
Appeals for the llth Circuit from an Order denying defendant’s
motion for compassionate release




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ALEJANDRINO POPOCA
Register Number 07408-017
FCI Bastrop
                      Case 3:10-cr-00067-RV-EMT Document 495 Filed 03/25/22 Page 2 of 3
                   USCA11 Case: 22-10994 Document: 9 Date Filed: 05/27/2022 Page: 50 of 54         ■■ I ■




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 USCA11 Case: 22-10994   Document: 9   Date Filed: 05/27/2022   Page: 52 of 54




                             APPENDIX 3 A;
“DISRTICT COURT ORDER FOR DENYING fflS MOTION FOR COMPPASSIONATE
                               RELEASE”
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                                Date  Date 04/07/2022
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                                                                         Page 1 of 2

           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA


vs.                                          Case No.:   3;10cr67/RV/EMT



ALEJANDRINO POPOCA



                                     ORDER


      This case is before the Court on Defendant’s Motion Seeking Authorization

to Proceed In Forma Pauperis. (ECF No. 497.) Defendant appeals the Court’s

February 1,2022 order denying his Motion for Compassionate Release. (ECF No.

494.) Upon due consideration of the record, the requested relief will be denied,

because the undersigned finds the appeal is not taken in good faith and Defendant is

not otherwise entitled to so proceed. See Fed. R. App. P. 24(a)(3).

      Accordingly, it is ORDERED;

      1. Defendant’s Motion for Leave to Appeal In Forma Pauperis(ECF No.497)

         is DENIED.


      2. To proceed with his appeal. Defendant must pay the $505.00 appellate

         filing fee within THIRTY(30)DAYS from the date of docketing ofthis

         order.
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                                            Filed: 05/27/2022
                                                          Page: Page:
                                                                2 of 2 54 of 54


                                                                      Page 2 of 2

      DONE AND ORDERED this 29* day of March 2022.


                              /s/ Roger Vinson                   /
                              ROGER VINSON
                              SENIOR UNITED STATES DISTRICT JUDGE




Case No.: 3:10cr67/RV/EMT
